                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION


VIRGINIA COALITION FOR IMMIGRANT
RIGHTS, et al.,

                      Plaintiffs,

              v.
                                                    Case No. 1:24-cv-1778 (PTG/WBP)
SUSAN BEALS
in her official capacity as Virginia Commissioner
of Elections, et al.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                                    Case No. 1:24-cv-1807 (PTG/WBP)

COMMONWEALTH OF VIRGINIA, et al.,

                      Defendants.




                    UNITED STATES’ REPLY IN SUPPORT OF ITS
                     MOTION FOR PRELIMINARY INJUNCTION
                                        INTRODUCTION

       Virginia continues to implement its voter registration list maintenance program (the

Program) during a time period forbidden by federal law. U.S. Prelim. Inj. Br., United States v.

Virginia, No. 1:24-cv-1807, ECF No. 9-1 (PI Br.). Yet Defendants claim that the Program is

beyond the purview of the Quiet Period Provision that Congress established in Section 8(c)(2) of

the National Voter Registration Act of 1993 (NVRA), 52 U.S.C. § 20507(c)(2). They are

incorrect, both as a matter of law and fact. The NVRA indisputably applies to Virginia’s

program and bars it within 90 days of a federal election. And preclearance of the statutory

backdrop for the Program is irrelevant to this Court’s analysis under the NVRA. The United

States is likely to succeed on the merits of its claim, the United States and Virginia voters will be

irreparably harmed absent intervention, and the equities and public interest favor relief. This

Court should grant the United States’ motion.

                                           ARGUMENT

       A.      The Defendants’ Statutory Interpretation Fails.

       Virginia’s attempt to narrow the meaning of the Quiet Period Provision contorts its text

beyond recognition. The Commonwealth’s argument boils down to the contention that the

Provision prohibits the systematic removal within 90 days of a federal election only of

“registrants who become ineligible to vote based on a change in residence.” Defs.’ Resp. at 27,

Va. Coal. for Immigrant Rts. v. Beals, No. 1:24-cv-1778, ECF No. 92 (citing Arcia v. Detzner,

908 F. Supp. 2d 1276, 1283 (S.D. Fla. 2012) (Defs.’ Resp.). Congress prohibited just those sorts

of removals in Section 8(d)(1), 52 U.S.C. § 20507(d)(1). But Virginia reads a textual

equivalence between Section 8(d)(1) and the Quiet Period Provision that does not exist.

Compare 52 U.S.C § 20507(d)(1) (instructing states, in some circumstances, to “not remove the
name of a registrant from the official list of eligible voters in elections for Federal office on the

ground that the registrant has changed residence”), with id. § 20507(c)(2) (forbidding “any

program the purpose of which is to systematically remove the names of ineligible voters from the

official lists of eligible voters” within 90 days of a federal election, then listing specific

exceptions). 1 Virginia’s reading of the statute flouts bedrock principles of statutory

interpretation. See Polselli v. Internal Revenue Serv., 598 U.S. 432, 439 (2023) (“We assume

that Congress ‘acts intentionally and purposely’ when it ‘includes particular language in one

section of a statute but omits it in another section of the same Act.’”) (quoting Sebelius v. Cloer,

569 U.S. 369, 378 (2013)); Chickasaw Nation v. United States, 534 U.S. 84, 93 (2001)

(“‘[E]very clause and word of a statute’ should, ‘if possible,’ be given ‘effect.’” (quoting United

States v. Menasche, 348 U.S. 528, 538-539 (1955)) (cleaned up)). Virginia’s grammatical

warping ignores that Congress enacted the Quiet Period Provision to prevent a harm—the

mistaken disenfranchisement of qualified voters removed from the rolls close to Election Day—

that is just as likely to result from the “systematic” removal of voters who have lost their

qualifications as it is from the removal of voters who were not qualified to begin with.

        B.      Finding the Program Violates the Quiet Period Provision Would Not Lead to
                Constitutionality Concerns.

        Defendants next argue that this Court must follow their misguided interpretation of the

NVRA because, otherwise, the NVRA would be unconstitutional. Defs.’ Resp. at 25-26. Not so.




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 Virginia argues that its reading of the Quiet Period Provision is compelled because the meaning
of the Quiet Period Provision controls the meaning of Section 8(a)(3), which Virginia terms the
“General Registration Provision.” Defs.’ Resp. at 25-28. This is yet another attempt to rewrite
Section 8 by ignoring that Section 8(a)(3) refers to “registrant[s]” while the Quiet Period
Provision refers to “ineligible voters.” Compare 52 U.S.C. § 20507(a)(3), with 52 U.S.C.
§ 20507(c)(2).


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The NVRA is unquestionably a valid exercise of Congress’s plenary authority under Article I of

the Constitution, specifically the Elections Clause, U.S. Const. art. I, § 4, cl. 1. See, e.g., Ass’n of

Cmty. Orgs. for Reform Now v. Edgar, 56 F.3d 791, 792-96 (7th Cir. 1995); Commonwealth v.

United States, No. 3:95-cv-357, 1995 WL 928433, at *1 (E.D. Va. Oct. 18, 1995). A finding by

this Court that the Defendants violated the Quiet Period Provision would not change that.

Defendants’ constitutional arguments rest on the erroneous notion that requiring them to stop

their systematic removal program within 90 days of the election would limit their ability to

enforce their qualifications to vote. That is incorrect. The Quiet Period Provision governs only

the manner in which a state may remove voters it previously determined to be qualified.

Virginia has multiple methods to enforce its citizenship requirements during the Quiet Period,

including individualized voter removals and initial determinations of whether new registrants are

qualified to be added to the rolls. Because Virginia has an “alternative means of enforcing its

constitutional power to determine voting qualifications,” no constitutional doubt is raised by

giving the Quiet Period Provision its “fairest reading.” Arizona v. Inter Tribal Council of

Arizona, Inc., 570 U.S. 1, 19 (2013) (holding that the NVRA preempted an Arizona statute

requiring documentary proof of citizenship for federal form registrants).

        C.      The Program Is Systematic and Not Individualized.

        The Program is conducted “systematically” for purposes of the Quiet Period Provision.

52 U.S.C. § 20507(c)(2)(A). This Court should reject Defendants’ distorted reading of the term

“systematic” for two reasons. First, the Program removes voters without any individual

investigation of voter eligibility, rendering the program systematic in nature. Second, the

Program runs afoul of Arcia’s rule that automated programs utilizing mass data-matching are

definitionally systematic. That one of the data points being matched is a registrant’s own




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notation on a form is irrelevant. Allowing the Program to move forward would allow mass

computerized data-matching processes to circumvent the Quiet Period provision. See, e.g., Ex.

A, Prelim. Inj. Hearing Transcript at 8:10-9:14, United States v. Alabama, et. al., No. 2:24-cv-

01329, ECF No 57 (N.D. Ala. Oct. 16, 2024) (Al PI Tr.); Arcia, 772 F.3d at 1344. But this

Court’s analysis of the Defendants’ wayward argument can begin and end with the NVRA’s text

and Congress’s clear purpose. See U.S Prelim. Inj. Br. at 2-3.

       The NVRA requires states to “complete, not later than 90 days prior to [a federal

election], any program the purpose of which is to systematically remove the names of ineligible

voters from the official lists of eligible voters.” 52 U.S.C. § 20507(c)(2)(A); see also, e.g.,

Hartford Underwriters Inc. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6 (2000) (noting that

courts “begin with the understanding that Congress ‘says in a statute what it means and means in

a statute what it says there.’”) (internal citation omitted). Individualized removal is permissible,

see Arcia, 772 F.3d at 1348, but Section 8 necessitates that states proceed with meaningful

individualized analysis “based on individual correspondence or rigorous individualized inquiry,”

see N.C. Conf. of the NAACP v. N.C. State Bd. of Elections, No. 1:16-cv-1274, 2016 WL

6581284, at *5 (M.D.N.C. Nov. 4, 2016) (quoting Arcia, 772 F.3d at 1346); Ex. A, AL PI Tr. at

9:15-18) (comparing voter rolls against driver’s license and ID card databases is systematic). A

removal program that proceeds without “any reliable first-hand evidence specific to the voters”

targeted is “systematic” N.C. Conf. of the NAACP v. N.C. State Bd. of Elections, No. 1:16-cv-

1274, 2016 WL 6581284, at *5 (M.D.N.C. Nov. 4, 2016); see also Arcia, 772 F.3d at 1344

(holding “a mass computerized data-matching process to compare the voter rolls with other state

and federal databases, followed by the mailing of notices” and without any “individualized

information or investigation” to be systematic for purposes of the Quiet Period Provision); see




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also, e.g., Bell v. Marinko, 367 F.3d 588, 590, 592 (6th Cir. 2004) (setting out examples of

individualized “investiga[ions] and examin[ations]”); Majority Forward v. Ben Hill Cnty. Bd. of

Elections, 509 F. Supp. 3d 1348, 1355 (M.D. Ga. 2020) (contrasting systematic programs and

“individualized inquiries”); Ex. A, AL PI Tr. at PI Tr. 9:15-18 (noting that the use of template

letters “illustrates the systematic nature of the path to removal that the program created”). And

this is particularly true where, as here, a state makes no attempt to reconcile or investigate the

contradictory information that has been provided by a voter both in attesting to their U.S.

citizenship when registering to vote and in checking a box that says otherwise during a DMV

interaction.

       Defendants’ own description of the Program merely confirms its systematic nature. See

Defs.’ Resp. at 30-33. They describe the Program as one in which (1) the DMV passes on

various pieces of data to the Department of Elections (ELECT); (2) ELECT matches that data to

the potential matches on the voter rolls but conducts no research or analysis on the person’s

citizenship status; and (3) ELECT sends those matches to local registrars. See id. at 8-9. Local

registrars then send auto-generated Notices of Intent to Cancel. See U.S. Prelim. Inj.Br. at 5-6.

Ultimately, officials lack any discretion at any stage in the process of implementing the Program

to engage in “individual correspondence,” seek “reliable first-hand evidence,” or engage in an

“individualized inquiries.” Compare N.C. Conf. of the NAACP v. N.C. State Bd. of Elections,

No. 1:16-cv-1274, 2016 WL 6581284, at *5 (M.D.N.C Nov. 4, 2016); and Majority Forward v.

Ben Hill Cnty. Bd. of Elections, 509 F. Supp. 3d 1348, 1355 (M.D. Ga. 2020) with Ex. B, Va.

Dep’t of Elections, GREB Handbook 2024, Ch. 8, p. 15, https://perma.cc/27VJ-QKBF

(Handbook) (directing that the “(DMV) is required to furnish to Department of Elections,”

“[t]he Department of Elections will transmit,” [t]he general registrar is required to mail,




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“VERIS will automatically cancel the registration of any voter who does not respond to the

notice within 21 days.”) (emphasis added).

       In fact, some officials have been aware that targeted voters are likely citizens but still felt

compelled to issue a Notice of Intent to Cancel. See U.S. Prelim. Inj. Br. at 7; Arlington

Elections Office, Recording of Electoral Board Meeting - October 1, 2024, at 16:40 (Oct 1,

2024), https://www.youtube.com/watch?v=BT3mbIUWzsk [https://perma.cc/Q78Y-GL3J] (“We

have no way of knowing one way or the other whether these fourteen individuals [that were

removed] were or were not citizens.”). This is borne out by the data produced thus far. Records

indicate Loudoun County removed at least 102 people between August 7, 2024, and October 16,

2024. See Ex. C, Loudoun County Declared Non-Citizen List. And at least one removed voter

had a “NEW CITIZEN” stamp directly on their voter registration application. See Ex. D, Arturo

Voter Registration Application. Of the 102 removed voters, three voters have submitted

reaffirmations of citizenship, and eight voters have re-applied after removal, suggesting that

more than just the voter with “New Citizen” on his application were wrongfully removed U.S.

citizens. See Ex. E, Hong Affirmation of Citizenship; Ex. F, Al Jumaily Voter Registration

Application. The evidence shows that the Program is a systematic removal program regulated by

the Quiet Period Provision.

       D.      Preclearance Under Section 5 of the Voting Rights Act is Irrelevant Here.

       Virginia trumpets the United States’ lack of objection to the implementation of what

eventually became the statutory backdrop for the Program under the preclearance process

required at the time by Section 5 of the Voting Rights Act, 52 U.S.C. § 10304. It is true that the

United States precleared the 2006 changes. See Defs.’ Resp., Declaration of Graham K. Bryant,

Ex. A, Letter from John Tanner, Chief, Voting Section, to J. Jasen Eige, Senior Assistant




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Attorney General (December 14, 2006), ECF No. 92-4 (Tanner Letter). But, as Virginia surely

knows, Section 5 analyses were limited to whether the enacted practice had “the purpose of or

will have the effect of diminishing the ability of any citizens of the United States on account of

race or color [or membership in a language minority group] to elect their preferred candidates of

choice.” 52 U.S.C. § 10304(b). That limitation is clear from the letter Virginia attached to its

Response, see Tanner Letter (“Section 5 expressly provides that the failure of the Attorney

General to object does not bar subsequent litigation to enjoin the enforcement of the changes [at

issue].”), from federal regulations, see 28 C.F.R. § 51.49 (explaining that the lack of an objection

under Section 5 to a voting change did “not constitute the certification that the voting change

satisfies any other requirement of the law beyond that of section 5”) and from caselaw, see

Morris v. Gressette, 432 U.S. 491, 505 (1977) (holding that constitutional challenges were not

barred by a lack of objection by the Attorney General under Section 5); Mississippi State

Chapter, Operation Push v. Allain, 674 F. Supp. 1245, 1262 (N.D. Miss. 1987) (holding that

Section 5 Preclearance of a statute did not prohibit a challenge of the same law under Section 2

of the Voting Rights Act) (aff'd sub nom. Mississippi State Chapter, Operation Push, Inc. v.

Mabus, 932 F.2d 400 (5th Cir. 1991)). The United States’ lack of objection during the Section 5

preclearance process to the procedures that would eventually become the Program is irrelevant to

Virginia’s present violation of the Quiet Period, which imposes an entirely different restriction.

                                         CONCLUSION

       For the reasons set forth in the United States’ opening brief and set forth above, the

United States’ Motion for Preliminary Injunction should be granted.




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Date: October 23, 2024


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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2024, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of this filing to
counsel of record.


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